Case 24-11967-JKS   Doc 1407-1   Filed 12/20/24   Page 1 of 23




                       EXHIBIT 1
            Case 24-11967-JKS        Doc 1407-1      Filed 12/20/24     Page 2 of 23




                                 PURCHASE AGREEMENT


        THIS PURCHASE AGREEMENT (“Agreement”) is made by and among Big Lots Stores
– PNS, LLC, a California limited liability company, successor-by-conversion from PNS Stores,
Inc. (the “Seller”), and 6351 Westminster Blvd, LLC, a Wyoming limited liability company
(“Buyer”). The Effective Date of this Agreement shall be         , 2024 (the “Effective Date”).

                                           RECITALS

   A. Seller and Buyer previously entered into a Purchase Agreement dated February 2, 2023
      (the “Former Contract”), for the sale of the Property (defined below), which Former
      Contract Seller and Landlord acknowledge and agree is terminated, void, and of no further
      force or effect, and the parties acknowledge and agree that the Original Earnest Deposit
      (defined below) shall be applied as provided in this Agreement.

   B. On April 7, 2024, Seller commenced a lawsuit against Buyer related to the Former Contract
      in the United States District Court for the Central District of California, commencing Case
      No. SACV 24-757-MWF (JDEx) (the “Litigation”). On or about August 9, 2024,
      Judgment was entered in the Litigation in favor of Seller. On September 4, 2024, Buyer
      filed a Notice of Appeal of the Judgment with the Ninth Circuit Court of Appeals, which
      commenced Appeal Docket No. 24-5432 (the “Appeal”).

   C. On September 9, 2024, Seller and various related entities filed voluntary chapter 11
      bankruptcy petitions in the United States Bankruptcy Court for the District of Delaware
      (the “Bankruptcy Court”), commencing Bankruptcy Case No. 24-11970, which is being
      jointly administered with the other entities under Lead Case No. 24-11967 (JKS)
      (collectively, the “Bankruptcy Case”).

   D. Seller and Buyer acknowledge and agree that the Real Property (defined below) has
      previously been vandalized, but, nevertheless, Buyer remains interested in purchasing the
      Property from Seller.

   E. Seller and Buyer acknowledge and agree that the Escrow Agent (defined below) is in
      possession of the Original Earnest Deposit, and hereby instruct the Escrow Agent to
      continue to hold and apply the Original Earnest Deposit as provided in this Agreement.

SECTION 1 - THE PROPERTY.

       1.1 - Agreement. Seller is the owner of the real property located at the address commonly
known as 6351 Westminster Blvd., Westminster, CA 92683, as more particularly described on
Exhibit A attached hereto and made a part hereof, together with all improvements located thereon
(the “Real Property”). Seller is also the owner or holder of certain appurtenant easements, rights,
permits, entitlements, privileges and other intangible property relating to the Real Property (the
“Intangibles”; the Real Property and Intangibles are all sometimes referred to collectively as the
“Property”). On the terms and conditions set forth in this Agreement, Buyer desires to purchase
from Seller, and Seller desires to sell to Buyer, the Property.


                                           -1-
             Case 24-11967-JKS        Doc 1407-1      Filed 12/20/24     Page 3 of 23




SECTION 2 - PURCHASE PRICE. Buyer agrees to pay Seller, as the purchase price for the
Property, the sum of Six Million One Hundred Thousand and 00/100 Dollars ($6,100,000.00) (the
“Purchase Price”). The Purchase Price shall be paid as follows:

       (a)     Seller and Buyer acknowledge and agree that the Escrow Agent (as hereinafter
               defined) currently holds in escrow the amount of Two Hundred Thousand and
               00/100 Dollars (the “Original Earnest Deposit”) that Buyer deposited with the
               Escrow Agent pursuant to the Former Contract. Buyer acknowledges and agrees
               that, except as expressly provided in Section 7.3 and Section 10.1 of this
               Agreement, the Original Earnest Deposit is not refundable to Buyer. Within three
               (3) business days following the Effective Date of this Agreement, Buyer shall
               deposit the additional sum of Two Hundred Fifty Thousand and 00/100 Dollars
               ($250,000) with the Escrow Agent in escrow as an earnest money deposit (the
               “2024 Earnest Deposit”; together the Original Earnest Deposit and the 2024 Earnest
               Deposit, the “Earnest Deposit”). Except as expressly provided in this Agreement,
               the 2024 Earnest Deposit shall be nonrefundable to Buyer, but the Earnest Deposit
               shall be applicable to the Purchase Price at Closing (as hereinafter defined).

       (b)     Buyer shall deliver to the Escrow Agent (as hereinafter defined) the Purchase Price,
               less the Earnest Deposit and the credits authorized to Buyer, in immediately
               available funds, on or prior to the Closing Date (as hereinafter defined).

       (c)     Concurrently with depositing the 2024 Earnest Deposit with Escrow Holder, Buyer
               shall deposit, for immediate release to Seller, the sum of $100.00 (the “Independent
               Consideration”) as consideration for Buyer’s right to purchase the Property and for
               Seller’s execution, delivery and performance of this Agreement. The Independent
               Consideration (i) is in addition to and independent of any other consideration or
               payment provided for in this Agreement, (ii) is non-refundable and (iii) shall be
               retained by Seller notwithstanding any other provision of this Agreement.

SECTION 3 - ESCROW AND TITLE INSURANCE.

        3.1 - Escrow Agent. The parties hereto designate Chicago Title Insurance Company -
National Commercial Services, 12500 Reed Hartman Highway, Suite 120, Cincinnati, Ohio
45241, Attn: Jordan Cohen, Jordan.Cohen@ctt.com (“Title Company”) and as the escrow agent
(“Escrow Agent”) in connection with this transaction. This Agreement shall serve as escrow
instructions and shall be subject to the usual conditions of acceptance of Escrow Agent, insofar as
the same are not inconsistent with any of the terms hereof. By execution of this Agreement,
Title Company agrees that the Earnest Deposit shall be held as a deposit under this Agreement in
an interest-bearing account and: (a) applied against the Purchase Price if Closing occurs; or
(b) delivered to Seller or Buyer, in accordance with the terms of this Agreement, if Closing does
not occur. Interest on the Earnest Deposit shall be paid to the party entitled to receive the Earnest
Deposit (or portion thereof) pursuant to this Agreement.

        3.2 - No Due Diligence or Inspection Period. Buyer acknowledges and agrees that there
is no diligence period or inspection period under this Agreement. Buyers also acknowledges and
agrees that there is no financing contingency or condition under this Agreement.


                                            -2-
             Case 24-11967-JKS        Doc 1407-1      Filed 12/20/24      Page 4 of 23




       (a)     Buyer shall have the right to, at its sole cost and expense, obtain an ALTA Extended
               Coverage Owner’s Policy of Title Insurance with respect to the Real Property
               (“ALTA Owner’s Policy”) in the amount of the Purchase Price from the Title
               Company, subject only to the Permitted Exceptions defined below, provided that
               Buyer acknowledges and agrees that Buyer’s ability to obtain an ALTA Owner’s
               Policy is not a condition or contingency under this Agreement. Buyer
               acknowledges receipt of that certain Amended Preliminary Report #4, amended
               September 3, 2024 (the “Update Date”), Order No.: 00184037-987-OC1-JS9 (the
               “Original Commitment”), which was initially issued by the Title Company in
               connection with the Former Contract, to issue an ALTA Owner’s Policies of Title
               Insurance for the Real Property in an amount equal to the Purchase Price (the “Title
               Policy”).

       (b)     Subject to Seller’s obligations under Section 3.3 below, (i) all conditions,
               restrictions, reservations, easements, leaseholds, rights-of-way of record; (ii) all
               real estate taxes and assessments not yet due and payable; (iii) any portion of the
               Property situated within the confines of a publicly dedicated right-of-way or legal
               highway; (iv) all zoning ordinances and regulations; (v) all matters that would be
               disclosed by an accurate survey of the Real Property; and (iv) all matters identified
               in the Original Commitment are collectively referred to herein as the “Permitted
               Exceptions”.

       3.3 - Release of Mortgages. Except for real estate taxes and assessments not yet due and
payable as of the Closing and the Permitted Exceptions, it shall be a condition to Buyer’s obligation
to close that all mortgages, monetary liens and other encumbrances of ascertainable amounts
incurred by, for, or on behalf of Seller shall be paid by Seller at or prior to Closing and removed
from record by Title Company.

SECTION 4 - CONVEYANCE. On the Closing Date, Seller shall convey title to the Real Property
by grant deed (the “Deed”), in form and substance reasonably acceptable to the parties hereto,
based on consultations with their respective local counsel, free and clear of all liens and
encumbrances, except the Permitted Exceptions.

SECTION 5 - PRORATIONS AND CLOSING COSTS.

         5.1 - Property Operating Expenses. Operating Expenses (as hereinafter defined) for the
Property shall be prorated as of 12:01 a.m. Pacific Time on the Closing Date. Seller shall pay all
utility charges and other operating expenses, if any and excluding Taxes (collectively, the
“Operating Expenses”), attributable to the Real Property incurred prior to, but not including, the
Closing Date and Buyer shall pay all utility charges and other operating expenses attributable to
the Real Property incurred on or after the Closing Date. If Seller is responsible for any public
utility expenses with respect to the Real Property, meters for all public utilities (including water)
being used on the Real Property shall be ordered read by Seller on the day of giving possession to
Buyer and all charges to said date shall be paid by Seller. To the extent that the amount of actual
consumption of any utility services is not determined prior to the Closing Date, a proration shall
be made at Closing based on the last available reading and post-closing adjustments between Buyer
and Seller shall be made within twenty (20) days of the date that actual consumption for such pre-

                                            -3-
              Case 24-11967-JKS         Doc 1407-1      Filed 12/20/24      Page 5 of 23




Closing period is determined, which obligation shall survive the Closing and shall not be merged
therein. Seller shall not assign to Buyer any deposits which Seller has with any of the utility
services or companies servicing the Real Property. Buyer shall arrange with such services and
companies to have accounts opened in Buyer’s name beginning at 12:01 a.m., Eastern Time, on
the Closing Date.

         5.2 - Real Estate Taxes and Assessments. All real estate taxes and assessments, both
general and special, with respect to the Real Property (collectively, “Taxes”) for the current fiscal
year of the applicable taxing authority in which the Closing Date occurs shall be prorated on a per
diem basis as of 11:59 p.m. on the day prior to the Closing Date. Seller shall pay Taxes attributable
to the Property to, but not including, the Closing Date and Buyer shall pay all Taxes attributable
to the Property on or after the Closing Date. If the Closing occurs prior to the receipt by Seller of
the bill for Taxes for the calendar year in which the Closing occurs, Taxes shall be prorated on the
basis of the last officially certified and available tax duplicate. Seller shall be responsible for Taxes
payable in respect to periods prior to the Closing and shall be entitled to any rebates and refunds
for such periods. Buyer shall be responsible for Taxes on the Real Property payable in respect to
all periods after the Closing and shall be entitled to any rebates and refunds for such periods. Such
proration of Taxes will be final.

       5.3 - Costs to be Paid by Seller. Seller shall pay or be charged with the following costs and
expenses in connection with this transaction:

        (a)     All state (and if applicable county and city) documentary transfer, sales, stamp and
                similar taxes and conveyance fees on the sale and transfer of the Property;

        (b)     one-half (1/2) of the escrow fee charged by Escrow Agent;

        (c)     the premium for the standard coverage portion of the Title Policy, if obtained by
                Buyer;

        (d)     Seller’s share of prorations; and

        (e)     the fees and expenses of Seller’s attorney(s).

       5.4 - Costs to be Paid by Buyer. Buyer shall pay the following costs and expenses in
connection with this transaction:

        (a)     all state (and if applicable county and city) documentary transfer, sales, stamp and
                similar taxes and conveyance fees on the sale and transfer of the Property;

        (b)     the escrow fee charged by Escrow Agent;

        (c)     the cost of recording the Deed;

        (d)     the cost of: the title examination, the Updated Commitment, and the premium for
                the Title Policy, if obtained by Buyer, including the cost of any endorsements
                thereto;



                                              -4-
             Case 24-11967-JKS        Doc 1407-1      Filed 12/20/24     Page 6 of 23




       (e)     Buyer’s share of prorations;

       (f)     all costs incurred by Buyer in connection with its due diligence or other activities
               related to the Property, including, without limitation, the cost of any environmental
               report, property condition report or zoning report ordered by Buyer; and

       (g)     the fees and expenses of Buyer’s attorney(s).

SECTION 6 – SETTLEMENT AND COMPROMISE

        6.1 - Release of Claims. The Parties desire to fully and completely settle all disputes,
claims, demands and causes of action against one another relating to the Litigation and/or the
Appeal, including all causes of action brought or that could have been brought arising from the
allegations raised in the Litigation (the “Compromise”).

        6.2 - Buyer, on behalf of itself, and its administrators, insurance companies, predecessors,
successors, assigns, agents, servants, employees, members, corporations, officers, directors,
partnerships, partners, associates, attorneys, representatives, principals, joint ventures, parents,
trustees, subsidiaries, shareholders, past and present, or anyone else claiming by and through them,
do hereby acknowledge full and complete satisfaction of and do hereby fully and forever release
and discharge Seller, as well as its administrators, predecessors, successors, assigns, agents,
servants, employees, members, corporations, insurance companies, officers, directors,
partnerships, partners, associates, attorneys, representatives, principals, joint ventures, parents,
trustees, subsidiaries, shareholders, past and present, and each of them, from any and all claims,
demands and causes of action of any kind or nature whatsoever, whether known or unknown,
suspected or unsuspected, whether concealed or hidden, which Buyer now owns, holds or may
hereafter have against Seller, by reason of any matter relating to the Litigation.

        6.3 - Seller on behalf itself and its administrators, insurance companies, predecessors,
successors, assigns, agents, servants, employees, members, corporations, officers, directors,
partnerships, partners, associates, attorneys, representatives, principals, joint ventures, parents,
trustees, subsidiaries, shareholders, past and present, or anyone else claiming by and through it,
does hereby acknowledge full and complete satisfaction of and does hereby fully and forever
release and discharge Buyer, as well as its administrators, predecessors, successors, assigns,
agents, servants, employees, members, corporations, officers, directors, partnerships, partners,
associates, attorneys, representatives, principals, joint ventures, parents, trustees, subsidiaries,
shareholders, past and present, and each of them, from any and all claims, demands and causes of
action of any kind or nature whatsoever, whether known or unknown, suspected or unsuspected,
whether concealed or hidden, which Seller now owns, holds or may hereafter have against Buyer,
by reason of any matter relating to the Litigation.

        6.4 - It is a condition hereof, and it is the intention of the Parties in executing this
Agreement and in giving the releases set forth herein, that the same shall be effective as a bar to
each and every claim, demand, and cause of action, matter or thing specified; and in furtherance
of this specific intention, the Parties hereby expressly waive any and all rights and benefits
conferred upon them by the provisions of Section 1542 of the California Civil Code which
provides:


                                            -5-
            Case 24-11967-JKS          Doc 1407-1       Filed 12/20/24      Page 7 of 23




               “A general release does not extend to claims that the creditor or
               releasing party does not know or suspect to exist in his or her
               favor at the time of executing the release and that, if known by
               him or her would have materially affected his or her settlement
               with the debtor or released party.”

        6.5 - The Parties represent and warrant that they have been advised to seek advice from
independent legal counsel of their own choosing regarding this Agreement and its terms and
language, and understand and acknowledge the significance and consequence of these releases,
and the specific waiver of Section 1542, and the Parties, and each of them, expressly consent that
this Agreement and the releases set forth herein shall be given full force and effect according to
each and all of their express terms and provisions, including those relating to unknown and
unsuspected claims, demands and causes of action, if any, as well as those relating to any other
claims, demands and causes of action herein above specified.

       6.6 - The Buyer shall dismiss the Appeal within ten (10) business days of the Closing.

SECTION 7 - POSSESSION AND CLOSING; CONTINGENCIES AND CONDITIONS.

         7.1 - Closing. The transaction contemplated herein shall be closed at the office of Escrow
Agent within five (5) business days after (i) the date on which the Bankruptcy Court has entered
an order approving this Agreement and Seller’s sale of the Property to Buyer free and clear of any
claims, liens, restrictions, security interests or other encumbrances of any kind under 11 U.S.C.
§ 363(f) and (ii) such order has become final and nonappealable. The time and date of such closing
is referred to herein as the “Closing Date” or the “Closing”.

         7.2 - As soon as practicable after the Effective Date of this Agreement, Seller shall file with
the Bankruptcy Court a motion seeking authority to approve the Compromise and the sale of the
Property in accordance with the terms of this Agreement (the “Approval Motion”). Upon the
Bankruptcy Court’s entry of an order in form and substance reasonably satisfactory to Seller
granting the Approval Motion (the “Bankruptcy Court Approval”), Seller shall promptly provide
Buyer and Title Company with notice thereof. Either party may terminate this Agreement by
written notice to the other if: (i) the Bankruptcy Court denies the Approval Motion; or (ii) the
Bankruptcy Court fails to issue the Bankruptcy Court Approval within thirty (30) days after the
filing of the above referenced motion by Seller; provided, however, that if the Bankruptcy Court
fails to issue the Bankruptcy Court Approval within such thirty (30) day period and Buyer and
Seller are using good faith efforts to obtain the Bankruptcy Court Approval, the thirty (30) day
period shall be extended for an additional thirty (30) days. In the event of such termination, Escrow
Agent shall disburse the Earnest Deposit in accordance with the provisions herein to Buyer and
the parties shall have no further rights, duties or obligations under this Agreement, other than those
which are expressly provided in this Agreement to survive the termination of this Agreement.

        7.3 - The obligations of Seller under this Agreement to sell the Property and consummate
the transaction contemplated hereby shall be subject to the satisfaction of the following conditions
on or before the Closing Date, except to the extent that Seller waives any of such conditions in
writing at or prior to Closing:



                                             -6-
             Case 24-11967-JKS        Doc 1407-1      Filed 12/20/24     Page 8 of 23




       (a)     Buyer shall have performed and complied in all material respects with all covenants
               and agreements required by this Agreement to be performed and complied with by
               Buyer on or before the Closing Date.

       (b)     Seller shall have received each of the items to be delivered to it or for its benefit
               under this Agreement.

       (c)     Between the Effective Date and the Closing Date, no written order shall have been
               entered and be in effect by any court of competent jurisdiction, and no law shall
               have been promulgated or enacted and be in effect, that restrains, enjoins or
               invalidates the transaction contemplated hereby.

       (d)     No suit or other proceeding shall be pending against Seller by any Person before
               any court or authority seeking to restrain or prohibit or declare illegal the
               transaction contemplated by this Agreement, or seeking damages against Seller in
               connection with the transactions contemplated by this Agreement.

       (e)     Seller shall have filed a notice of this Agreement and Approval Motion in the
               Bankruptcy Court and either (i) no objections to this Agreement or the Approval
               Motion shall have been filed in the Case during the twenty-one (21) calendar day
               period immediately following the filing of such notice or any other such objection
               period as set forth in the Bankruptcy Court Approval (the “Objection Period”) as
               evidenced by a copy of the docket in the Case or (ii) any objections filed within the
               Objection Period shall have been resolved and withdrawn, and in each of (i) or (ii),
               the Bankruptcy Court shall have entered an order granting the Approval Motion.

If any of the foregoing conditions are not fulfilled by the Closing, save and except those caused by
the occurrence of Seller’s material default, then Seller shall have the right, exercisable by
delivering written notice to Buyer, to terminate this Agreement, then the 2024 Earnest Deposit
shall be promptly refunded to Buyer, including any interest earned thereon, and the Original
Earnest Money shall be promptly refunded to Seller, including any interest earned thereon;
provided, however, that in the event any failure of a condition constitutes a material default by
Buyer under Section 11.2 below, then Seller shall be entitled to exercise the remedies set forth in
Section 11.2.

       7.4 - Buyer’s Conditions to Close. Escrow shall not close unless and until the following
conditions precedent and contingencies have been satisfied or waived in writing by Buyer:

       (a)     All instruments described in Section 7.4 shall have been timely delivered to Escrow
               Agent;

       (b)     On the Closing, Seller shall not be in default in the performance of any material
               covenant or agreement to be performed by Seller under this Agreement;

       (c)     On the Closing, all representations and warranties made by Seller in Section 10.1
               hereof shall be true and correct in all material respects as if made on and as of the
               Closing; and,


                                            -7-
             Case 24-11967-JKS        Doc 1407-1       Filed 12/20/24       Page 9 of 23




       (d)     The Bankruptcy Court shall have entered an order granting the Approval Motion in
               a form satisfactory to Buyer to ensure the sale if approved free and clear of all liens,
               claims and interests in accordance with Bankruptcy Code Section 363(f) and which
               includes a finding that Buyer is a good faith purchaser as provided in Bankruptcy
               Code Section 363(m) (“Approval Order”).

If any of the foregoing conditions are not fulfilled by the Closing, Buyer may elect to terminate
this Agreement, in which event the Earnest Deposit shall be refunded to Buyer, including any
interest earned thereon.

       7.5 - Closing Deliveries.

       (a)     Seller’s Closing Deliveries. Not later than 12:00 p.m. Eastern Time on the Closing
               Date, Seller shall deliver to Escrow Agent:

               (i)     the Deed;

               (ii)    signed counterparts of an Assignment of Intangible Property, if any;

               (iii)   a certificate and affidavit of non-foreign status;

               (iv)    a completed 1099-S request for taxpayer identification number and
                       certification and acknowledgment for Seller;

               (v)     a title affidavit from Seller reasonably required by Escrow Agent to aid
                       Buyer to obtain the Title Policies free of any general exception, excluding
                       coverage for zoning and mechanic’s liens;

               (vi)    resolutions of Seller authorizing the sale of the applicable Property pursuant
                       to this Agreement and the authority of the officer executing the closing
                       documents on behalf of Seller;

               (vii)   a settlement statement with respect to the Closing;

               (viii) exclusive possession of the Property to Buyer;

               (ix)    a certified copy of the Approval Order; and

               (x)     such other closing documents as may be reasonably necessary to
                       consummate the transaction contemplated herein

       (b)     Buyer’s Closing Deliveries. Not later than 12:00 p.m. Eastern Time on the Closing
               Date, Buyer shall deliver to Escrow Agent:

               (i)     a settlement statement with respect to the Closing;

               (ii)    such other closing documents as may be reasonably necessary to
                       consummate the transactions contemplated herein; and


                                            -8-
             Case 24-11967-JKS       Doc 1407-1       Filed 12/20/24     Page 10 of 23




               (iii)   the Purchase Price less the Earnest Deposit and any credits to which Buyer
                       is expressly entitled hereunder.

       (c)     Title Company and Escrow Agent Obligations. At Closing, Title Company or
               Escrow Agent (as the case may be) shall:

               (i)     pay to Seller the Purchase Price less any credits to which Buyer is entitled;

               (ii)    deliver the Deed to Buyer by filing the Deed for record in the public records
                       for the jurisdiction in which the Real Property is located;

               (iii)   if obtained by buyer, issue the Title Policy or Title Policies; and

               (iv)    charge Seller and Buyer for the closing costs as set forth in Section 5 above.

       7.6 - Covenants of Seller Pending Closing.

        (a)     From and after the Effective Date through the Closing Date, Seller shall not modify,
cancel, extend or otherwise change in any manner, the terms, covenants or conditions of any
insurance policy insuring the Real Property, nor enter into any contracts for services or otherwise
that may be binding upon the Property or upon Buyer, nor shall any easements be created or any
licenses given on the Property (in each case, other than in connection with the discharge of its
fiduciary duties, including considering higher or better bids for the Property), without the express
prior written consent of Buyer, which consent shall not be unreasonably withheld, conditioned or
delayed, subject to any requirements of the Bankruptcy Court or otherwise by virtue of Seller being
a debtor in bankruptcy. Notwithstanding anything in this Agreement to the contrary, Buyer
acknowledges and agrees that Seller has ceased all operations of the Big Lots Store formerly
operated at the Real Property.

        (b)    From the Effective Date through and including the Closing Date, Seller will not,
without the prior written consent of Buyer, convey any interest in any license or permit or
entitlement affecting any of the Property (other than in connection with the discharge of its
fiduciary duties, including considering higher or better bids for the Property), and Seller will not
subject any Property to any additional liens, encumbrances, covenants, conditions, easements,
rights of way or similar matters which will not be eliminated prior to the Close of Escrow.

SECTION 8 - CONDITION OF PROPERTY.

     8.1 - “As-Is” Condition. BUYER HEREBY EXPRESSLY ACKNOWLEDGES AND
AGREES THAT BUYER WILL HAVE, AS OF THE CLOSING, THOROUGHLY INSPECTED
AND EXAMINED THE STATUS OF TITLE TO THE PROPERTY AND THE PHYSICAL
CONDITION OF THE PROPERTY TO THE EXTENT DEEMED NECESSARY BY BUYER
IN ORDER TO ENABLE BUYER TO EVALUATE THE PURCHASE OF THE PROPERTY.
BUYER HEREBY FURTHER ACKNOWLEDGES AND AGREES THAT BUYER IS
RELYING SOLELY UPON THE INSPECTION, EXAMINATION, AND EVALUATION OF
THE PHYSICAL CONDITION OF THE PROPERTY BY BUYER AND THAT BUYER IS
PURCHASING, AND AT CLOSING WILL ACCEPT, THE PROPERTY ON AN “AS IS,”
“WHERE IS” AND “WITH ALL FAULTS” BASIS, WITHOUT REPRESENTATIONS,

                                            -9-
           Case 24-11967-JKS         Doc 1407-1       Filed 12/20/24     Page 11 of 23




WARRANTIES AND/OR COVENANTS, EXPRESS OR IMPLIED, OF ANY KIND OR
NATURE. BUYER ACKNOWLEDGES THAT SELLER HAS MADE NO AGREEMENT TO
ALTER, REPAIR OR IMPROVE THE PROPERTY. WITHOUT LIMITING THE
FOREGOING, BUYER FURTHER ACKNOWLEDGES THAT SELLER HAS NOT MADE
AND WILL NOT MAKE, NOR SHALL SELLER BE DEEMED TO HAVE MADE, ANY
WARRANTY OR REPRESENTATION, EXPRESS OR IMPLIED, AS TO (I) THE FITNESS,
DESIGN OR CONDITION OF THE PROPERTY FOR ANY PARTICULAR USE OR
PURPOSE, (II) THE QUALITY OF THE MATERIAL OR WORKMANSHIP THEREIN, (III)
THE EXISTENCE OF ANY DEFECT, LATENT OR PATENT, (IV) SELLER'S TITLE
THERETO WHICH IS BEING CONVEYED AS IS, WITH ALL DEFECTS AND
OBJECTIONS, (V) VALUE, (VI) COMPLIANCE WITH SPECIFICATIONS, (VII)
LOCATION, (VIII) USE, (IX) CONDITION, (X) MERCHANTABILITY, (XI) QUALITY, (XII)
DESCRIPTION, (XIII) DURABILITY, (XIV) OPERATION, OR (XV) THE EXISTENCE OF
ANY HAZARDOUS SUBSTANCE AND ALL RISKS INCIDENT THERETO WHICH ARE
TO BE BORNE BY BUYER. BUYER FURTHER ACKNOWLEDGES THAT THE
PROPERTY HAS BEEN (OR WILL BE, SUBJECT TO THE TERMS OF THIS AGREEMENT)
INSPECTED BY BUYER AND IS (OR WILL BE, SUBJECT TO THE TERMS OF THIS
AGREEMENT) SATISFACTORY TO IT. IN THE EVENT OF ANY DEFECT OR
DEFICIENCY IN ANY PORTION OF THE PROPERTY OF ANY NATURE, WHETHER
LATENT OR PATENT, SELLER SHALL NOT HAVE ANY RESPONSIBILITY OR
LIABILITY WITH RESPECT THERETO OR FOR ANY INCIDENTAL OR
CONSEQUENTIAL DAMAGES (INCLUDING STRICT LIABILITY IN TORT). THE
PROVISIONS OF THIS SECTION 8.1 HAVE BEEN NEGOTIATED WITH THE ADVICE OF
COUNSEL AND ARE INTENDED TO BE A COMPLETE EXCLUSION AND NEGATION OF
ANY WARRANTIES BY SELLER, EXPRESS OR IMPLIED, WITH RESPECT TO THE
PROPERTY, ARISING PURSUANT TO THE UNIFORM COMMERCIAL CODE OR ANY
OTHER LAW NOW OR HEREAFTER IN EFFECT OR ARISING OTHERWISE. THE
PROVISIONS OF THIS SECTION SHALL SURVIVE THE CLOSING OR THE
TERMINATION OF THIS AGREEMENT.

        Buyer acknowledges and agrees that it has not (and shall not) rely upon any statement
and/or information from whomsoever made or given (including, but not limited to, any broker,
attorney, agent, employee or other person representing or purporting to represent Seller) directly
or indirectly, verbally or in writing, and Seller is not and shall not be liable or bound by any such
statement and/or information.

        Seller specifically disclaims any representation, warranty or guaranty with respect to the
Property, express or implied, including, but not limited to, any representation or warranty as to the
Property’s compliance with zoning or other legal requirements or as to the availability or existence
of any utility or other governmental or private services or as to the amount of taxes assessed to the
Property.

        8.2 - Release of Claims Under Environmental Laws. Buyer, on behalf of itself and all
future owners and occupants of the Real Property, hereby waives and releases Seller from,
including, but not limited to, any claims for recovery of costs associated with conduct of any
voluntary action or any remedial responses, corrective action or closure under any applicable
federal, state or local environmental laws (“Environmental Laws”), including, but not limited to,

                                           - 10 -
           Case 24-11967-JKS          Doc 1407-1       Filed 12/20/24      Page 12 of 23




the Comprehensive Environmental Response, Compensation and Liability Act, 42 U.S.C. § 9601
et seq. and the Resource Conservation and Recovery Act, 42 U.S.C. § 6901 et seq., as amended
from time to time; and any similar federal, state and local laws and ordinances and the regulations
and rules implementing such statutes, laws and ordinances. The foregoing waiver and release of
Seller under this Section 8.2 shall be set forth in the Deed and shall be binding upon all future
owners and occupants of the Real Property. Notwithstanding the foregoing, the foregoing waiver
and release under this Section 8.2 shall not modify, limit or otherwise affect Seller’s
representations and warranties set forth in Section 10.1 hereof or Seller’s liability hereunder for
any breach thereof; nor shall Seller be released from, and Buyer shall not waive its claims against
Seller with respect to: (a) any breach of Seller’s representations, warranties, covenants or other
obligations under this Agreement or any documents executed pursuant to this Agreement, (b) any
third-party personal injury which arises during Seller’s period of ownership, or (c) Seller’s fraud
or willful misconduct.

SECTION 9 – CONFIDENTIALITY.

         9.1 - Confidentiality. Buyer agrees that it shall treat all the information provided by seller
concerning the Property (collectively, “Background Material”) as confidential and proprietary to
Seller. Notwithstanding any other provision to the contrary contained herein, Buyer shall not
disclose, summarize or otherwise provide any or all of the Background Material to third parties
except: (a) to the extent necessary in connection with its evaluation of the Property; (b) to the
extent required by law; (c) to Buyer’s mortgage lender(s) or investors, if any, involved in the
transaction contemplated by this Agreement; or (d) with the express written consent of Seller.
Prior to disclosing or providing access to any Background Material to any of Buyer’s agents or
representatives, Buyer shall (i) advise such parties of this Section and Buyer’s obligations
hereunder and (ii) require that such parties treat the Background Material in accordance herewith.
If this Agreement terminates in accordance with the terms hereof, Buyer shall promptly return to
Seller or destroy all Background Material it received and shall not retain any copies of the
Background Material; provided, however, that Buyer has the ability to keep a copy of the
Background Material for compliance purposes or for the purpose of defending or maintaining
litigation or threatened litigation. Notwithstanding any provision in this Agreement to the
contrary, and except to the extent required by Law, neither Buyer nor Buyer’s agents shall contact
any governmental authority regarding Buyer’s discovery of any Hazardous Substances (as
hereinafter defined) on, or any environmental conditions at, a Real Property without Seller’s prior
written consent thereto. In addition, if Seller’s consent is obtained by Buyer, Seller shall be entitled
to receive at least five (5) business days prior written notice of the intended contact and to have a
representative present when Buyer has any such contact with any governmental official or
representative. For the purposes of this Agreement, the term “Hazardous Substances” shall have
the same definition as is set forth in the Comprehensive Environmental Response, Compensation
and Liability Act of 1980, 42 U.S.C. Sections 9601 et seq. (the “Superfund Act”); provided,
however, that the definition of the term “Hazardous Substances” shall also include (if not included
within the definition contained in the Superfund Act) petroleum and related byproducts,
hydrocarbons, radon, asbestos, urea formaldehyde and polychlorinated biphenyl compounds.
Buyer agrees that Seller may seek injunctive relief to prevent or limit an unauthorized disclosure
of the Background Material and may also pursue any other remedies available under law or equity
as a result of a breach or anticipated breach of this Section. All of the obligations of Buyer under
this Section 9.1 shall survive the termination of this Agreement.

                                             - 11 -
           Case 24-11967-JKS       Doc 1407-1       Filed 12/20/24     Page 13 of 23




SECTION 10 - REPRESENTATIONS AND WARRANTIES.

     10.1 - By Seller. Seller represents and warrants to Buyer that:

     (a)     Big Lots Stores – PNS, LLC is a limited liability company duly organized and
             validly existing under the laws of the State of California.

     (b)     Seller has the capacity and authority to execute this Agreement and perform the
             obligations of Seller under this Agreement, subject to Seller obtaining Bankruptcy
             Court Approval as described in Section 7.2 above. All actions necessary to
             authorize the execution, delivery and performance of this Agreement by Seller have
             been taken and such action has not been rescinded or modified.

     (c)     To the best knowledge of Seller, the execution and delivery of this Agreement and
             performance by Seller will not conflict with or result in a violation of, or breach of,
             or constitute a default under, any law or administrative regulation or any of the
             terms, conditions or provisions of any judgment, decree, loan agreement, bond,
             note, resolution, indenture, mortgage, deed of trust or other agreement or instrument
             to which it is a party and which affects the Property, subject to Seller obtaining
             Bankruptcy Court Approval as described in Section 7.2 above.

     (d)     Seller is not a “foreign Person” within the meaning of Section 1445 of the Internal
             Revenue Code.

     10.2 - By Buyer. Buyer represents and warrants to Seller as of the Effective Date that:

     (a)     Buyer is duly created and validly existing pursuant to the laws of the jurisdiction
             of its organization and is duly qualified to do business in the jurisdiction in which
             the Real Property is situated if and to the extent that such qualification is required.

     (b)     Buyer has the capacity and authority to execute this Agreement and perform the
             obligations of Buyer under this Agreement. All action necessary to authorize the
             execution, delivery and performance of this Agreement by Buyer has been taken,
             and such action has not been rescinded or modified. Upon the execution of this
             Agreement, this Agreement will be legally binding upon Buyer and enforceable
             against Buyer in accordance with all of its provisions. The person signing this
             Agreement on behalf of Buyer has been duly authorized to sign and deliver this
             Agreement on behalf of Buyer.

     (c)     Buyer is not subject to any judgment or decree of a court of competent jurisdiction
             or governmental agency that would limit or restrict Buyer’s right to enter into and
             carry out this Agreement.

     (d)     Neither the execution of this Agreement nor the consummation of the transactions
             contemplated herein by Buyer will constitute a breach under any contract or
             agreement to which Buyer is a party or by which Buyer is bound or affected.



                                         - 12 -
             Case 24-11967-JKS       Doc 1407-1     Filed 12/20/24     Page 14 of 23




       (e)     No consent or approval of any third party (including, without limitation any
               governmental authority) is or was required in connection with Buyer’s execution
               and delivery of this Agreement or its consummation of the transaction contemplated
               herein.

       (f)     None of the funds to be used for payment by Buyer of the Purchase Price will be
               subject to 18 U.S.C. §§ 1956-1957 (Laundering of Money Instruments), 18 U.S.C.
               §§ 981-986 (Federal Asset Forfeiture), 18 U.S.C. §§ 881 (Drug Property Seizure),
               Executive Order Number 13224 on Terrorism Financing, effective September 24,
               2001, or the United and Strengthening America by Providing Appropriate Tools
               Required to Intercept and Obstruct Terrorism Act of 2001, H.R. 3162, Public Law
               107-56 (the “USA Patriot Act”).

       (g)     Buyer is not, and will not become, a person or entity with whom U.S. persons are
               restricted from doing business with under the regulations of the Office of Foreign
               Asset Control (“OFAC”) of the Department of Treasury (including those named on
               OFAC’s Specially Designated and Blocked Persons list) or under any statute,
               executive order (including the September 24, 2001 Executive Order Blocking
               Property and Prohibiting Transactions With Persons Who Commit, Threaten to
               Commit, or Support Terrorism), the USA Patriot Act, or other governmental action.

Buyer shall fully disclose to Seller, immediately upon Buyer’s becoming aware of its occurrence,
any change in facts or circumstances of which Buyer becomes aware prior to the Closing Date that
may affect the representations and warranties set forth above.

SECTION 11 - DEFAULT.

        11.1 - Seller Default. Notwithstanding any provision in this Agreement to the contrary, if
Closing does not occur by reason of a material default by Seller which continues for five (5) days
after written notice from Buyer, then Buyer shall have the right, as its sole and exclusive remedy,
to either (a) terminate this Agreement, in which event Buyer shall receive the Earnest Deposit and
neither of the parties hereto shall have any further rights or obligations hereunder, except for
obligations that specifically survive the termination, or (b) sue Seller for specific performance.
Other than the remedies set forth in the foregoing (a) and (b), no other remedy or relief shall be
available to Buyer, and Buyer hereby waives any and all other remedies, including the right to sue
Seller for damages. In the event that Buyer’s right to sue for specific performance is unavailable
as a remedy to Buyer because of Seller’s affirmative acts, Buyer shall be entitled to pursue all
rights and remedies available at law or in equity, provided, however, any recovery by Buyer shall
not exceed the sum of Fifty Thousand and 00/100 Dollars ($50,000.00) and shall be limited to
Buyer’s actual and verifiable, out-of-pocket expenses incurred in connection with the transaction
contemplated by this Agreement. Notwithstanding any provision in this Agreement to the
contrary, Buyer’s right to sue Seller for specific performance is contingent upon Buyer filing suit
against Seller for specific performance within ninety (90) days after the occurrence of Seller’s
material default delaying Closing and, in the event that Buyer does not file suit for specific
performance within such ninety (90) day period, Buyer shall be deemed to have waived its right
to sue Seller for specific performance, and the remedy set forth in Section 11.1(a) above to
terminate this Agreement shall be Buyer’s sole and exclusive remedy. The failure or refusal of

                                          - 13 -
           Case 24-11967-JKS          Doc 1407-1       Filed 12/20/24     Page 15 of 23




the Bankruptcy Court to approve this Agreement and/or the Closing shall entitle Buyer to the sole
and exclusive remedy of terminating this Agreement, in which event the Earnest Deposit shall be
promptly refunded to Buyer in accordance with the provisions herein and Seller and Buyer shall
have no further rights and obligations hereunder except those which expressly survive termination
of this Agreement.

         11.2 - Buyer Default. Notwithstanding any provisions of this Agreement to the contrary,
if the sale of the Property to Buyer is not consummated solely because of Buyer’s material default
under the express terms of this Agreement or if any representation or warranty by Buyer is not
accurate as of the Closing Date, in addition to Seller’s remedies under that certain Settlement
Agreement dated as of even date herewith by and between Seller and Buyer, Seller shall be entitled
to terminate this Agreement, and the Earnest Deposit, including any interest earned thereon, shall
be delivered to Seller as agreed-upon liquidated damages as Seller’s sole remedies. Seller and
Buyer acknowledge that: (a) it would be impossible to accurately determine Seller’s damages in
the event of Buyer’s default; (b) the Earnest Deposit is fair and equitable; and (c) Seller expressly
waives the right to exercise any and all other rights available at law or in equity. The limitation of
damages set forth herein shall not apply to any indemnities, covenants or obligations of Buyer
which expressly survive either the termination of this Agreement or Closing, for which Seller shall
be entitled to all rights and remedies available at law or in equity. Buyer shall not be deemed to
be in default under this Agreement unless Seller shall have given written notice to Buyer and Buyer
shall not have cured such default within five (5) business days after receipt of Seller’s notice. The
Closing Date shall be extended, as necessary, to accommodate the notice and cure period, provided
that notice is delivered prior to the expiration of this Agreement.

        11.3 - BROKERS. Seller and Buyer each represent and warrant that they have not been
represented by any broker in connection with the sale of the Property and no commissions or fees
are due to any other broker or finder by reason of either party’s actions in this matter. Buyer and
Seller shall each be responsible for all liability, if any, for any broker or finder fees payable with
respect to the sale of the Property that are attributable to its actions. Seller and Buyer shall and do
each hereby indemnify, defend and hold harmless the other from and against the claims, demands,
actions and judgments of any and all brokers, agents and other persons or entities alleging a
commission, fee or other payment to be owing by reason of their respective dealings, negotiations
or communications in connection with this Agreement or the purchase and sale of the Property.
The indemnity obligations in this Section shall survive the termination of this Agreement or the
Closing.

SECTION 12 - EMINENT DOMAIN. In the event of a taking of any portion of the Real Property
by eminent domain for any public or quasi-public use which is reasonably estimated by Seller to
be valued at five percent (5%) of the Purchase Price allocated to such Real Property or more, or if
notice of intent of a taking or a sale in lieu of taking, which is reasonably estimated by Seller to be
valued at five percent (5%) of the Purchase Price or more, is received by Seller or Buyer, at or
prior to Closing, then Buyer shall have the right, to be exercised within thirty (30) days after notice
of such taking or intended taking by written notice to Seller, to notify Seller whether it elects to
proceed with the transactions contemplated by this Agreement or to terminate this Agreement.
Failure to deliver notice is deemed Buyer’s election to terminate this Agreement. If Buyer elects
(or is deemed to have elected) to terminate this Agreement, Buyer shall receive the 2024 Earnest
Deposit, including any interest earned thereon, and Seller shall receive the Original Earnest

                                            - 14 -
           Case 24-11967-JKS          Doc 1407-1       Filed 12/20/24     Page 16 of 23




Deposit, including any interest earned thereon, and neither of the parties hereto shall have any
further rights or obligations hereunder except for obligations that specifically survive the
termination. In the event this Agreement is not terminated or Buyer is not entitled to terminate
this Agreement pursuant to this Section, Buyer shall consummate this transaction on Closing Date
(with no reductions in the Purchase Price), and Buyer shall be entitled to participate in any such
condemnation or eminent domain proceedings and to receive all of the proceeds attributable to any
portion of the Real Property to be conveyed to Buyer.

SECTION 13– [INTENTIONALLY OMITTED].

SECTION 14 - MISCELLANEOUS.

       14.1 - Governing Law. THE PARTIES AGREE THAT THE BANKRUPTCY COURT
SHALL HAVE EXCLUSIVE JURISDICTION OVER ALL DISPUTES AND OTHER
MATTERS RELATING TO (I) THE INTERPRETATION AND ENFORCEMENT OF THIS
AGREEMENT OR ANY ANCILLARY DOCUMENT EXECUTED PURSUANT HERETO
AND/OR (II) THE PROPERTY. THE PARTIES EXPRESSLY CONSENT TO AND AGREE
NOT TO CONTEST SUCH EXCLUSIVE JURISDICTION. The provisions of this Section shall
survive the Closing or termination of this Agreement.

        14.2 - Counterparts; Electronic Signatures. This Agreement may be executed in multiple
counterparts, each of which shall be deemed an original, but all of which together shall constitute
one and the same document. Execution and delivery of this Agreement by electronic exchange
bearing the copies of a party’s signature shall constitute a valid and binding execution and delivery
of this Agreement by such party. Such electronic copies shall constitute enforceable original
documents.

         14.3 - Entire Agreement. This Agreement, together with the attached exhibit(s), contains
all of the terms and conditions of the agreement between the parties hereto, and any and all prior
and contemporaneous oral and written agreements are merged herein.

       14.4 - Modifications and Waivers. This Agreement cannot be changed nor can any
provision of this Agreement, or any right or remedy of any party, be waived orally. Changes and
waivers can be made only in writing, and the change or waiver must be signed by the party against
whom the change or waiver is sought to be enforced. Any waiver of any provision of this
Agreement, or any right or remedy, given on any one or more occasions shall not be deemed a
waiver with respect to any other occasion.

        14.5 - Parties Bound. This Agreement shall be binding upon and inure to the benefit of the
heirs, executors, successors, and assigns of the parties hereto.

        14.6 - Assignment. Buyer may not assign its rights and obligations under this Agreement
without Seller’s prior written consent; provided, however, at and concurrently with a Closing
hereunder, Buyer may, subject to any requirements imposed by the Bankruptcy Court or otherwise
by virtue of Seller being a debtor in bankruptcy, assign its rights and obligations under this
Agreement, in whole or in part, to one or more entities without the consent of Seller, provided and
on the condition that: (a) Buyer shall have given Seller written notice of the assignment and the
identity of the assignee(s) at least seven (7) days prior to Closing; (b) Buyer is an affiliate of each

                                            - 15 -
           Case 24-11967-JKS         Doc 1407-1     Filed 12/20/24     Page 17 of 23




assignee; and (c) such assignee(s) shall have assumed Buyer’s obligations hereunder by a written
instrument of assumption in form and substance reasonably satisfactory to Seller. Notwithstanding
any such assignment, Buyer shall nevertheless remain liable for all of Buyer’s obligations
hereunder.

        14.7 - Notices. All notices, requests and other communications under this Agreement shall
be in writing and shall be deemed given when made by personal delivery, sent by registered or
certified mail, postage prepaid, return receipt requested, next or second business day by delivery
by a nationally recognized overnight courier, addressed as follows, or email followed by another
permitted means of delivery. Notice shall be deemed given on the date on which the notice is
received or refused by a party in the case of personal delivery or email, the date on which it is
deposited in the U.S. Mail, in the case of registered or certified mail, or on the next or second
(whichever is applicable) business day immediately following receipt by the courier, in the case
of an overnight courier:

               If to Seller:   Big Lots Stores – PNS, LLC
                               4900 East Dublin Granville Road
                               Columbus, Ohio 43081
                               Attn: Chris Macke
                               Vice President, Legal – Real Estate
                               Email: cmacke@biglots.com

               and
                               Big Lots Stores – PNS, LLC and Big Lots Stores, LLC
                               4900 East Dublin Granville Road
                               Columbus, Ohio 43081
                               Attn: Ronald A. Robins, Jr. (Rocky)
                               EVP, Chief Legal and Governance Officer
                               Email: rrobins@biglots.com


       With a copy to:         Jacinto A. Nunez
                               Vorys, Sater, Seymour and Pease LLP
                               50 S. Main Street
                               Suite 1200
                               Akron, Ohio 44308
                               Email: janunez@vorys.com


               If to Buyer:    6351 WESTMINSTER BLVD, LLC
                               Att: Andrew Fieler
                               Email: andrew.fielder@backbayig.com
                               3857 Birch St #195
                               Newport Beach, CA 92660

       With a copy to:         James C. Bastian, Jr.
                               SHULMAN BASTIAN FRIEDMAN & BU LLP

                                           - 16 -
           Case 24-11967-JKS          Doc 1407-1       Filed 12/20/24     Page 18 of 23




                               100 Spectrum Center Drive, Suite 600
                               Irvine, CA 92618
                               jbastian@shulmanbastian.com

                               AND

                               Michael J. Steponovich, Jr
                               STEPONOVICH & ASSOCIATES
                               A Professional Law Corporation
                               Email: mike@stepolaw.com
                               120 Vantis Drive, Suite 300
                               Aliso Viejo, California 92656-2677
                               mike@stepolaw.com

        14.8 - Section Headings. The captions in this Agreement are for convenience only and
shall not be considered a part of or affect the construction or interpretation of any provision of this
Agreement.

        14.9 - Severability. If one or more of the provisions of this Agreement or the application
thereof shall be invoked, illegal or unenforceable in any respect, the validity, legality and
enforceability of the remaining provisions or any other application thereof shall in no way be
affected or impaired.

        14.10 - Time of the Essence. The parties agree that time is of the essence and that the
failure of a party hereto to perform any act on or before the date specified herein for performance
thereof shall be deemed cause for the termination hereof by the other party, without prejudice to
other remedies available for default hereunder.

        14.11 - Confidentiality. Without the prior written consent of the other party, neither Seller
nor Buyer will disclose to any person, other than their legal counsel, auditors, accountants,
investors or a proposed lender, either the fact that this Agreement has been entered into or any of
the terms, conditions or other facts with respect thereto, including the status thereof; provided, that
either party hereto may make such disclosure if compelled by court order or to comply with the
requirements of any law, governmental order or regulation. Notwithstanding anything provided
in this Agreement to the contrary, nothing herein shall prohibit Seller from taking any action that
is required or appropriate in order to pursue or fulfill the requirements of the Bankruptcy Court
Approval.

        14.12 - Further Action. The parties hereto shall at any time, and from time to time on and
after the Closing Date, upon the request of either, to, execute, acknowledge and deliver all such
further acts, deeds, assignments and other instruments as may be reasonably required for the
consummation of this transaction.

        14.13 - Construction. This Agreement shall not be construed more strictly against one
party than against the other merely by virtue of the fact that it may have been prepared by counsel
for one of the parties hereto, it being recognized that both Seller and Buyer have contributed
substantially and materially to the preparation of this Agreement.

                                            - 17 -
           Case 24-11967-JKS         Doc 1407-1       Filed 12/20/24       Page 19 of 23




      14.14 - No Recording. Neither this Agreement nor any memorandum or short form thereof
may be recorded by Buyer.

        14.15 - Third-Party Beneficiary. The provisions of this Agreement are not intended to
benefit any parties other than Seller and Buyer.

        14.16 - Attorneys’ Fees and Costs. Notwithstanding anything to the contrary contained
herein, in any action between the parties hereto seeking the enforcement of any of the terms and
provisions of this Agreement, or in connection with the Property, the prevailing party in such
action shall be awarded, in addition to damages, injunctive or other relief, its reasonable costs and
expenses, and reasonable attorneys’ fees.

         14.17 - Force Majeure. Notwithstanding anything to the contrary contained in this
Agreement, any prevention, delay or stoppage due to strikes, lockouts, labor disputes, acts of God,
inability to obtain services, labor, or materials or reasonable substitutes therefor, governmental
actions, judicial actions, civil commotions, fire or other casualty, epidemic, pandemic, disease,
quarantine, or any other causes beyond the reasonable control of the party obligated to perform
(collectively, “Force Majeure”), shall excuse the performance of any such party for a period equal to
any such Force Majeure and, therefore, if this Agreement specifies a time period for performance of
an obligation of either party, that time period shall be extended by the period of any delay in such
party’s performance caused by a Force Majeure, provided nothing in this Section shall excuse Buyer
from the prompt payment of money or other charges required of Buyer in this Agreement.

       14.18 - Exclusivity; Encumbrance. From the Effective Date through the Closing or earlier
termination of this Agreement, Seller shall not voluntarily encumber or otherwise transfer the
Property or enter into an agreement to transfer the Property or any of Seller’s interest therein
without the prior written consent of Buyer (in Buyer’s sole and absolute discretion.

        14.19 - Jury Trial. THE PARTIES KNOWINGLY, VOLUNTARILY AND
INTENTIONALLY WAIVE THEIR RIGHT TO A JURY TRIAL IN CONNECTION WITH
THIS AGREEMENT, THE TRANSACTION CONTEMPLATED UNDER THE AGREEMENT
OR ANY COURSE OF DEALINGS OR ACTIONS BY THE PARTIES RELATING TO THIS
AGREEMENT. THIS WAIVER IS A MATERIAL INDUCEMENT FOR SELLER TO
EXECUTE THIS AGREEMENT AND SURVIVES CLOSING UNDER OR TERMINATION
OF THIS AGREEMENT. The provisions of this Section shall survive the Closing or termination
of this Agreement.

       14.20 - Business Day. As used herein, a business day shall mean any day other than
Saturday, Sunday or other day that commercial banks in the State of Ohio are authorized or
required to close under applicable law. In the event that the expiration of any time period
hereunder shall expire on a Saturday, Sunday or legal holiday, then such time period shall be
extended until the close of business on the next following business day.

                            [remainder of page intentionally left blank]




                                           - 18 -
           Case 24-11967-JKS      Doc 1407-1     Filed 12/20/24      Page 20 of 23




       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed on the respective dates specified below.

SELLER:

Big Lots Stores – PNS, LLC, a California limited liability company

By:
      Jonathan Ramsden, EVP, CFO & CAO


Date:         , 2024
          Case 24-11967-JKS     Doc 1407-1    Filed 12/20/24      Page 21 of 23




BUYER:

6351 Westminster Blvd, LLC, a Wyoming limited liability company

By:
  Andrew Fielder, Manager

Date:        , 2024



By:
  David Lipp, Manager

Date:        , 2024
          Case 24-11967-JKS        Doc 1407-1     Filed 12/20/24    Page 22 of 23




                   ESCROW CONSENT AND ACKNOWLEDGMENT

        The undersigned agrees to act as Title Company and Escrow Agent for the transaction
described in the above Agreement as provided herein. Receipt of the Earnest Deposit is hereby
acknowledged. The undersigned agrees to hold and deliver the Earnest Deposit in accordance with
the terms of this Agreement.

                                    Chicago Title Insurance Company

Escrow No. __________               By:    _________________________________
                                           _________________________ (Print Name)
                                           Authorized Representative

Date:
        Case 24-11967-JKS   Doc 1407-1   Filed 12/20/24   Page 23 of 23




                                EXHIBIT A

                              The Real Property

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF
WESTMINSTER, IN THE COUNTY OF ORANGE, STATE OF CALIFORNIA, AND IS
DESCRIBED AS FOLLOWS:

PARCEL A: APN: 203-562-14

THAT PORTION OF THE SOUTHEAST QUARTER OF THE SOUTHWEST QUARTER OF
SECTION 3, TOWNSHIP 5 SOUTH, RANGE 11 WEST, IN THE RANCHO LAS BOLSAS, AS
SHOWN ON A MAP RECORDED IN BOOK 51, PAGE 13 OF MISCELLANEOUS MAPS,
RECORDS OF ORANGE COUNTY, CALIFORNIA, DESCRIBED AS FOLLOWS:
BEGINNING AT THE INTERSECTION OF THE CENTERLINE OF WESTMINSTER
AVENUE AND WILLOW LANE, AS SHOWN ON A MAP OF TRACT NO. 2108, RECORDED
IN BOOK 109, PAGES 3, 4 AND 5 OF MISCELLANEOUS MAPS, RECORDS OF ORANGE
COUNTY, CALIFORNIA; THENCE NORTH 89°25’00” EAST 280.00 FEET; THENCE
NORTH 0°35’45” WEST 500.00 FEET TO THE SOUTH LINE OF SAID TRACT
NO. 2108; THENCE ALONG SAID SOUTH LINE AND ITS WESTERLY PROLONGATION
SOUTH 89°25’00” WEST 280.00 FEET TO SAID CENTERLINE OF WILLOW LANE;
THENCE SOUTH 0°35’45” EAST 500.00 FEET TO THE POINT OF BEGINNING. EXCEPT
THAT PORTION THEREOF, INCLUDED WITHIN WILLOW LANE, AS SHOWN ON THE
MAP OF SAID

TRACT NO. 2108.


PARCEL B:
NON-EXCLUSIVE EASEMENT FOR PARKING AS DESCRIBED IN THE AGREEMENT
RECORDED JANUARY 17, 1961 IN BOOK 5632, PAGE 739 OF OFFICIAL RECORDS.
